                           UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  EASTERN DIVISION
                           CIVIL ACTION NO. 4:20-cv-00049-BO


     ANTONIO DAVIS,                           )
                                              )
                    Plaintiff,                )
                                              )      CONSENT PROTECTIVE ORDER
     V.                                       )
                                              )
     G. ALLEN EQUIPMENT,                      )
     CORPORATION and WILLIAM                  )
     LAWRENCE.                                )
                                              )
                    Defendants.               )



           THIS MATTER comes before the Court jointly by Plaintiff Antonio Davis and

     Defendants G. Allen Equipment Corporation and William Lawrence, pursuant to

     Fed. R. Civ. P. 26(c), for entry of an order governing the disclosure of confidential and

     proprietary commercial information that may be sought a.uring discovery.

           It appearing to the. Court that defendant G. Allen Equipment Corporation

     (hereinafter    "G.    Allen") . possesses   confidential   and   proprietary   policies,

     procedures, and other documents, that include confidential information that may be

     subject to discovery in the proceedings in this matter but which should not be made

     available to the public generally;

           And it further appearing to the Court that all counsel of record consent to entry

     of this Protective Order, it is hereby ORDERED that:




).




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         1.     All documents produced or information disclosed··by G. Allen and

designated as "confidential" by G. Allen shall be revealed only to the following

persons: plaintiff, defendant, counsel of record in this case, paralegals and secretarial

employees under counsel's direct supervision, current and/or past employees of the

defendant, witnesses (including consulting experts), such persons as are employed by

counsel to act as experts in these actions, court reporters, the Court, mediators, and

tlie members of the jury. The information considered to be "confidential" and

disclosed only in accord with the terms of this paragraph shall include without

limitation G. Allen's policies and procedures and other instructions, protocols,

manuals, training documentation, employee personnel files and any other documents

desig~ated by G. Allen as "confidential" and produced subject to this Protective

Order.

         2. ·   All counsel to whom G. Allen produces or discloses documents and

information designated as "confidential" and subject to this Protective Order shall

use such "confidential" documents and information solely for the purposes of

preparation for and trial of this action and any appeals. Under no circumstances shall,

information or materialE;i covered by this Protective Order be disclosed to anyone other

than counsel of record in this action, paralegals, secretarial employees under

counsel's, direct supervision, the plaintiff, the defendant, current and/or past

employees of the defendant, witnesses, such persons employed to act as experts in

these actions, court reporters, the Court, mediators, and the members of the jury.




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       3.    Prior to disclosure of any documents or information designated as·
   -
"confidential" to paralegals or secretarial employees of counsel of record, the plaintiff,

the defendant, current and/or past employees of the defendant, or witnesses, .all

counsel to whom'G. Allen produces or discloses such "confidential" documents and

information shall require such persons to read this Protective Order and agree to be

bound by its terms.

       4.    All counsel to whom G. Allen produces or discloses· documents and

information designated as "confidentiaf' and subject to this Protective Order may use

such documents and information during discovery, trial and any appeals, including

but not limited to the depositions of parties, witnesses, and/or experts. However,

counsel agree not to provide a witness with copies of any document designated as

"c.onfidential" that the witness may retain. If counsel determines he/she must

provide a witness with a copy of any document designated as "confidential" and that

the witness must retain such document designated as "confidential," then, prior to

providing the witness with a copy of any document designated as "confidential,"

counsel shall: (a) provide the witness with a copy of the Protective Order entered in
                                     I




this case; (b) have the witness sign Exhibit A to the Protective Order; and (c) retain

a signed copy of Exhibit A in their file. Any witness provided with documents

designated as "confidential" shall return such "confidential" documents tq counsel at

the conclusion of this case, or in the alternative, destroy such documents.

       5.    If any counsel to whom G. Allen produces or discloses documents and
                                            I                        .

information designated as "confidential" determines that for purposes of this action,




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said documents or\ information must be revealed to a person employed to act as an

expert in this action, then counsel may reveal the designated documents or

information to such person, after first complying with the following:

      (a)     Counsel shall provide the expert with a copy of the Protective Order

              entered in this case;

      (b)     Counsel shall have the expert sign Exhibit A to the Protective Order and

              shall retain a signed copy of Exhibit A in their file. Any expert provided
                                I                  .




              with documents designated as "confidential" shall return such

              "confidential" documents to counsel at the 'conclusion of this case, or in
                                                       )

              the alternative, destroy such documents.

      6.      Designation of "confidential" material shall be made
                                                               I
                                                                   as
                                                                    ,
                                                                      follows:

      (a)     In the case of electronically produced documents, by including the word

              "confidential" as part of the file name and/or by writing, typing or

              stamping on the CD/DVD, flash drive or other medium containing the

              electronic documents, the word "confidential";

      (b)   ' In the case of other documents, by writing, typing or stamping on the

              face of such document the legend /«confidential" (or in the case of an

              original, by notifying the reviewing part of the confidential nature of the

              document);
                                                                                            /



      (c)     In the case of deposition questidns, either by (i) designating the question

              asked or the test~mony given, at the time asked and/or given, as

              "confidential" (if the confidential portion of a transcript cannot be




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             conveniently segregated then the entire transcript or pleading shall be

             deemed confidential), or (ii) by giving notice in writing to the reporter: ·

             and counsel of record for all parties within thirty (30) days after receipt

             of the transcript of the portions containing "confidential" information, in

             which event all counsel shall appropriately mark their copies of the

             transcript.

      7.     Any pleading or other document disclosing information subject to this

Order, which may be submitted to the Court, whether in the form of interrogatory

answers, document production, depositipn notices or transcripts, motions, affidavits,

briefs or other documents, shall be filed in a sealed envelope appropriately marked

as confidential and subject to this Protective Order. The. Clerks are directed to

maintain such documents under seal, to.be made available only to the Court and to

counsel in this proceeding.

      8. -   This Order is subject to revocation and. modification upon written

stipulation of the parties, or upon motion and reasonable notice, including

opportunity for hearing and presentation of evidence.

WE CONSENT:
Date: September 29, 2021.

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Attorneys for Plaintiff Antonio Davis




      SO ORDERED, the    i_ day of October, 2021.


                                         ~~/)~
                                         TERENc w. BOYLE               ·
                                         UNITED STATES DISTRICTJUDGE




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                                                                                EXHIBIT A_



                    UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           EASTERN DIVISION
                    CIVIL ACTION NO. 4:20-cv-00049-BO


ANTONIO DAVIS,                           )
                                         )
                   '
             Plaintiff,                  )
                                         )
V.                                       )
                                         )
G. ALLEN EQUIPMENT,                      )
CORPORATION and WILLIAM                  )
LAWRENCE.                                )
                                         )
             Defendants.                 )


      The undersigned does hereby acknowledge receipt of "CONFIDENTIAL"

information in connection with the civil action captioned, Antonio Davis v. G. Allen

Equipment Corporation and William Lawrence, 4:20-cv-00049-BO, which is currently

pending in the Eastern District of North Carolina.
                                     I

      The undersigned does further certify that he or she has received and reviewed

a copy of the Protective Order which was signed in the above-referenced matter; that

he or she has read and understands the provisions of that Protective Order; agrees to

be bound by, and to comply with, the provisions of that Protective Order; and submits

himself or herself to the jurisdiction of the Eastern District of North Carolina for the

enforcement of that Protective Order.

           This the __ day of _ _ _ _ _ ___, 2021.




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                            (Signature)

                            Name: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                            (Printed or typewritten)


Sworn to and subscribed before me, this the __ day of _ _ _ _ __, 2021.



Notary Public

My Commission Expires:._ _ _ _ __




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